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             IN THE UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION
MISSISSIPPI STATE CONFERENCE OF THE§
NATIONAL ASSOCIATION FOR THE       §
ADVANCEMENT OF COLORED PEOPLE; §
DR. ANDREA WESLEY; DR. JOSEPH      §
WESLEY; ROBERT EVANS; GARY         §
FREDERICKS; PAMELA HAMMER,         §
                                                    §
                Plaintiffs,                         §
                                                    §
vs.                                                 §                   3:22-cv-734-DPJ-FK.B
                                                    §
STATE BOARD OF ELECTION                             §
COMMISSIONERS; TATE REEVES, in his                  §
official capacity as Governor ofMississippi;        §
LYNN FITCH, in her official capacity as             §
Attornry General ofMississippi; MICHAEL             §
WATSON, in his official capacity as Secretary       §
ofState ofMississippi; DAN EUBANKS in his           §
official capacity as Ranking House Member of        §
the Standing Joint Legislative Committee on         §
Reapportionment and Redistricting; and DEAN         §
KIRBY, in his official capacity as Vice             §
Chairman ofthe Standing Joint Legislative           §
Committee on Reapportionment and                    §
Redistricting.                                      §
                                                    §
                                                    §
                Defendants.                         §



                 ORDER CONSTITUTING THREE-JUDGE COURT

        This suit challenges the constitutionality of the apportionment of Mississippi state legislative
districts. Chief Judge Daniel Jordan has requested, pursuant to 28 U.S.C. § 2284(6), that a three-judge
court be convened. I hereby designate a Circuit Judge and a District Judge to serve with Chief Judge
Jordan. The members of the three-judge district court convened under 28 U.S.C. § 2284 are:

                         Judge Leslie H. Southwick
                         Circuit Judge
                         United States Court of Appeals for the Fifth Circuit
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                  Chief Judge Daniel Jordan
                  United States District Judge
                  Southern District of Mississippi

                  Judge Sul Ozerden
                  United States District Judge
                  Southern District of Mississippi



SIGNED on December 20, 2022                      PRISCILLA RICHMAN
                                                 CHIEF JUDGE
                                                 UNITED STATES COURT OF APPEALS
                                                 FOR THE FIFTH CIRCUIT
